                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                           SOUTHERN DIVISION
                    CIVIL ACTION NO. 7:23-cv-1041

Craige Robinson,                               )              COMPLAINT
     Plaintiff,                                )     Americans with Disabilities Act
                                               )          42 U.S.C. 12101 et seq.
v.                                             )     Title VII of the Civil Rights Act
                                               )            42 U.S.C. 2000(e)
Mountaire Farms of North Carolina Corp.        )            ) Jury Demanded
  Defendant.                                   )
                                               )

     Plaintiff complaining of acts of the defendant alleges and states:

        1.    This is a proceeding for declaratory and injunctive relief and

monetary damages to redress the deprivation of rights secured to plaintiff by the

Americans with Disabilities Act of 1990 (ADA), as amended by the ADA

Amendments Act of 2008 (ADAAA) (42 U.S.C. §§ 12101-12213).

        2.    This is also a proceeding for declaratory and injunctive relief and

monetary damages to redress the deprivation of rights secured to plaintiff by the

Civil Rights Act 1964, as amended, 42 U.S.C. § 2000(e) et seq. (hereinafter

Title VII), to correct unlawful employment practices on the basis of race, and to

provide appropriate relief to plaintiff who was adversely affected by such

practices.

                          JURISDICTION AND VENUE

        3.    The jurisdiction of this court is established by 28 U.S.C. 1331.


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      4.     Venue is in this court because the defendant’s principle place of

business is located in Robeson County, North Carolina, and the actions

complained of herein occurred in this district.

                                 THE PARTIES

      5.     Plaintiff is a citizen and a resident of Robeson County, North

Carolina. Plaintiff was employed by the defendant at its Robeson County North

Carolina facility.

      6.     The defendant employer, Mountaire Farms of North Carolina Corp.

is a foreign corporation organized under the laws of the state of Delaware, and

regularly employed fifteen or more full-time employees at the location where

plaintiff was employed at all times relevant to this action.

      7.     The plaintiff was employed by the defendant within the meaning of

Section 170(f) of Title VII, 42 U.S.C. §2000e-(f). At all relevant times the

defendant was an employer within the meaning of Section 7701(b) of Title VII,

42 U.S.C. § 2000e(b).

      8.     At all relevant times, defendant has continuously been engaged in

an industry affecting commerce within the meaning of Section 701(b), (g) and

(h) of Title VII, 42 U.S.C. §2000e (b), (g) and (h) and employs over 100

employees.




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                          CONDITIONS PRECEDENT

      9.     Plaintiff has fulfilled all conditions precedent to the initiation of

this action. Plaintiff timely filed charges with the United States Equal

Employment Opportunity Commission (EEOC) and received a Right to Sue

Letter after March 5 2023. (Exh. A). Plaintiff is filing this action with 90 days

of receipt of the Right to Sue letter.

                                         FACTS

      10.    The plaintiff Craige Robinson is a citizen and resident of Robeson

County, North Carolina and was employed by the defendant Mountaire Farms

of North Carolina in the Robeson County North Carolina location.

      11.    The defendant Mountaire Farms of North Carolina Corp.,

hereinafter Mountaire Farms, is a foreign corporation organized under the laws

of the State of Delaware, with a principle place of business in Robeson County,

North Carolina.

      12.    Plaintiff began working for the defendant in February 2016.

      13.    The plaintiff worked in the defendant’s chicken processing plant in

Robeson County North Carolina.

      14.    In June 2018 Plaintiff was promoted to the position of Rehang

Supervisor. Plaintiff performed the duties of his position at a level that met and

exceeded the employer’s expectations and standards.


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      15.    On August 29 2021, Plaintiff was injured by a stray bullet while at

a cookout that was unrelated to the workplace.

      16.    As a result of the August 29 2021 incident, Plaintiff suffered an

injury to his elbow and hip, and was unable to work in any capacity until

October 20 2021.

      17.    On or about October 8 2021, plaintiff’s physician wrote a medical

note releasing him to return to work on October 20 2021 with restricted duties

of “seated work only with no use of the left arm and no lifting/pushing/pulling

greater than 5 lbs., with the right arm.”

      18.    Plaintiff could perform the duties of his position as a Rehang

Supervisor with the reasonable accommodation requested by the plaintiff and

his physician in the October 8 2021 medical note.

      19.    When Plaintiff provided the note to the employer, it refused to

accommodate the restrictions. Instead, Plaintiff was told that Plaintiff had to go

out on personal leave and that Plaintiff needed to get complete medical

clearance without restrictions before Plaintiff could return to work.

      20.    On November 3 2021 plaintiff’s physician wrote another medical

restrictions note, reiterating the same restrictions in the October 8 2021 note.

      21.    Plaintiff could perform the duties of his position as a Rehang

Supervisor with the reasonable accommodation requested by the plaintiff and


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his physician in the November 3 2021 medical note.

      22.    When Plaintiff met with the employer again it advised him that

Plaintiff could not return to work with restrictions.

      23.   On November 23 2021, plaintiff’s physician wrote a medical note

that stated “no ladders; no use of the left arm and no

lifting/pulling/pushing/carrying 25 pounds with the right arm. Sedentary work

and no standing/walking greater than 1-4 hours per day and be able to sit, stand

15 minutes every hour.”

      24.   Plaintiff could perform the duties of his position as a Rehang

Supervisor with the reasonable accommodation requested by the plaintiff and

his physician in the November 23 2021 medical note.

      25.   When Plaintiff met with the employer, it advised him that Plaintiff

could not return to work with restrictions.

      26.   Plaintiff met with the employer on multiple occasions and

requested reasonable accommodation to be allowed to return to his position as a

Rehang Supervisor. The employer refused.

      27.   The employer repeatedly advised the plaintiff that he could only

return to work with no restrictions.

      28.   When plaintiff was unable to return to work with no medically

imposed work restrictions, the defendant terminated plaintiff’s employment


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because he was not able to return to work with no medically imposed work

restrictions.

        29.     Because the plaintiff was unable to comply with the defendant’s

requirement that all work restrictions be removed by the medical provider, the

defendant terminated his employment.

        30.     The employer terminated plaintiff’s employment on November 30

2021.

                         FIRST CAUSE OF ACTION
                     AMERICANS WITH DISABILITIES ACT

        31.     Plaintiff incorporates paragraphs 1 through 30 as if fully set out

herein.

        32.     The Americans with Disabilities Act of 1990 (ADA), as amended

by the ADA Amendments Act of 2008 (ADAAA) is the primary federal law

protecting the rights of individuals with a disability (42 U.S.C. §§ 12101-

12213).

        33.     At all times relevant to this action, the plaintiff was a qualified

individual with a disability, was entitled to reasonable accommodation under

the American with Disabilities Act and was protected from being terminated

because of his disability.

        34.     Plaintiff was terminated because of a disability, that substantially

limits one or more major life functions. Plaintiff has 1) a physical or mental

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impairment that substantially limits one or more major life activities

(sometimes referred to in the regulations as an “actual disability”), or 2) a

record of a physical or mental impairment that substantially limited a major life

activity (“record of”); or 3) a disability because the defendant employer took an

action prohibited by the ADA because of an actual or perceived impairment.

      35.   The plaintiff is a qualified person with a disability. Plaintiff is a

person with a disability who can satisfactorily perform the duties of the job in

question, with or without reasonable accommodation.

      36.   Defendant discriminated against the plaintiff because of his

disability when defendant failed to provide plaintiff with reasonable

accommodation.

      37.   Defendant discriminated against the plaintiff because of his

disability when defendant terminated the plaintiff because of his disability.

      38.   The defendant’s conduct was wanton and willful and in knowing

and reckless violation of the plaintiff’s right to be free from discrimination,

based on his disability.

      39.   The defendant company’s termination of the plaintiff violates the

provisions of the Americans with Disability Act, in that the defendant

discharged, or otherwise discriminated against the plaintiff who is a qualified

person with a disability on the basis of a disabling condition with respect to


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compensation or the terms, conditions, or privileges of employment.

      40.     The defendant’s policy that an employee must be medically

cleared from all restrictions before being allowed to return to work, is a per se

violation of the Americans with Disabilities Act.

      41.     The defendant acted with malice and reckless indifference to the

known federally protected rights of the plaintiff, thus entitling the plaintiff to

punitive damages.

      42.    The defendant’s alleged reason for termination is mere pretext.

      43.    As a result of the discriminatory acts of the defendant, plaintiff has

suffered lost wages and benefits, financial difficulties and other monetary

damage.

      44.    Because of the conduct of the defendant, plaintiff has suffered

mental and emotional stress, anxiety and depression, as well as humiliation.

      45.    Further, by reason of the fact that the conduct of defendant as set

forth hereinabove was purposeful, deliberate, intentional, and done with

reckless disregard of the rights of plaintiff, plaintiff is entitled to recover

punitive damages from the defendant in an amount proven at trial.

      46.    Plaintiff was injured by the defendant’s illegal conduct, including,

but not limited to the loss of wages and benefits, as well as causing plaintiff to

suffer mental and emotional anguish, stress, anxiety, depression, financial


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hardship, loss of enjoyment of life, and humiliation.

                          SECOND CAUSE OF ACTION
                           RACE DISCRIMINATION

        47.    Plaintiff repeats and realleges by reference each and every

allegation contained in Paragraphs 1 through 46 of this complaint and

incorporates the same herein as though fully set forth.

        48.   Plaintiff is a black male.

        49.   The plaintiff was not given the opportunity to work with medically

imposed restrictions.

        50.   White employees, however, were allowed to work at the defendant

employer with medical restrictions.

        51.   The plaintiff was qualified to perform the Rehang Supervisor

duties.

        52.   The defendant denied the plaintiff reasonable accommodation

under the same or similar circumstances when it has granted similarly situated

white employees the opportunity to work with medically imposed restrictions.

        53.   The defendant denied the plaintiff the opportunity to perform the

duties of his position with medical restrictions because of his race, black.

        54.   The defendant discriminated against the plaintiff because of his

race.

        55.   Any and all reasons given by the defendant are mere pretext.

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      56.     Title VII of the Civil Rights act declares that it shall be an

unlawful employment practice for an employer to: (1) to fail or refuse to hire

or to discharge any individual, or otherwise to discriminate against any

individual with respect to his compensation, terms, conditions, or privileges of

employment, because of such individual's race, color, religion, sex, or national

origin; or (2) to limit, segregate, or classify his employees or applicants for

employment in any way which would deprive or tend to deprive any individual

of employment opportunities or otherwise adversely affect his status as an

employee, because of such individual's race, color, religion, sex, or national

origin.

      57.     The defendant has violated the provisions of Title VII of the Civil

Rights Act of 1964 as amended, 42 USC 2000e et seq, when it discharged

plaintiff, and otherwise discriminated against plaintiff with respect to his

compensation, terms, conditions, or privileges of employment, because of

plaintiff’s race and/or when defendant limited, segregated, or classified the

plaintiff in a way which deprived or tended to deprive plaintiff of employment

opportunities or otherwise adversely affect his status as an employee, because

of plaintiff’s race, black.

      58.    As a result of the discriminatory acts of the defendant, plaintiff has

suffered lost wages and benefits, financial difficulties and other monetary


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damage.

      59.    Because of the conduct of the defendant, plaintiff has suffered

mental and emotional stress, anxiety and depression, as well as humiliation.

      60.    Further, by reason of the fact that the conduct of defendant as set

forth hereinabove was purposeful, deliberate, intentional, and done with

reckless disregard of the rights of plaintiff, plaintiff is entitled to recover

punitive damages from the defendant in an amount proven at trial.

                                  JURY DEMAND

      61.    Plaintiff requests a jury trial.

                              PRAYER FOR RELIEF

   WHEREFORE, Plaintiff respectfully requests that this Court:

      1.     Grant plaintiff's request for a jury trial;

      2.     Order the Defendant company to make Plaintiff whole by providing

him with the appropriate back pay, with pre and post-judgment interest and

damages for all employment benefits he would have received but for the

discriminatory acts and practices of the Defendant company, together with front

pay damages;

      3.     Order the defendant to make plaintiff whole by providing

compensation for past and future non-pecuniary losses resulting from the unlawful

employment practices described herein, including but not limited to, mental and


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emotional anguish, stress, anxiety and depression, suffering inconvenience, loss of

enjoyment of life and humiliation, in amounts to be proved at trial.

      4.     Reinstate plaintiff's employment.

      5.     Order the defendant to pay compensatory and punitive damages in an

amount as determined by a jury;

      6.     Grant that the costs of this action be taxed against the defendant;

      7.     Order the defendant to pay plaintiff's reasonable attorney's fees, and

      8.     Grant such further relief as the Court deems necessary and proper.




This the 1st day of June 2023.



                                 Ralph Bryant Law Firm

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